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                          UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION


UNITED STATES OF AMERICA,

              Plaintiff,

v.                                                     Case No. 07-CR-20076-11

REUBEN C. MIMS,

              Defendant.
                                                  /

                      ORDER GRANTING DEFENDANT’S
          PETITION “TO ALLOW MODIFICATION OF BOND CONDITIONS”

       Defendant Reuben C. Mims moved on July 5, 2007 for modification of his bond

conditions. The court concludes a hearing on the petition is unnecessary. See E.D.

Mich LCrR 12.1; E.D. Mich. LR 7.1(e)(2). For the reasons stated below, the court will

grant the petition.

       Defendant is charged with a number of drug crimes for which he was arraigned

on March 14, 2007. He was released on April 12, 2007 on his own recognizance under

the supervision of Pretrial Services, subject to tether monitoring. He has complied with

all required conditions and his pre-trial officer has no objection to removing the tether.

The court concludes, pursuant to 18 U.S.C. 3142, that tether monitoring of Defendant

may be suspended pending trial. Accordingly,
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          IT IS ORDERED that Defendant’s Petition “To Allow Modification of Bond

Condition” [Dkt # 108] is GRANTED. Defendant is no longer subject to tether

monitoring.


                                                                 S/Robert H. Cleland
                                                                ROBERT H. CLELAND
                                                                UNITED STATES DISTRICT JUDGE
Dated: July 17, 2007

I hereby certify that a copy of the foregoing document was mailed to counsel of record
on this date, July 17, 2007, by electronic and/or ordinary mail.

                                                                 S/Lisa Wagner
                                                                Case Manager and Deputy Clerk
                                                                (313) 234-5522




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